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iN THE UNITED sTATEs DlsTRiCT COURT 05 JUN ~3 PH 2: |g
FOR THE WESTERN DIsTRICT 0F TENNESSEE

WESTERN DIVISION sense-tr ="‘ as tactic
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)
OUTDOOR OPTICS, ]NC. d/b/a/ )
OL-YMPIC OPTICAL CO. )
)
Plaintiff, )
)

v. ) Civil Action No. 05-2185 D

) Hon. Bernice Donald
)
DA_ISY MANUFACTUR]NG COMPANY, lNC. )
` )
Defendant. )
SCHEI)ULING ORDER

 

Pursuant to written notiee, a scheduling conference was held on May 25, 2005. Present were
Minal<si Bhatt from the law firm of Rothwell, Figg,_ Ernst & Manbecl<, counsel for plaintilej and
Danny Awdeh from the law firm of Bal<er, Donelsoii, Bearman, Caldwell & Berl<owitz, counsel for
defendant At the conference, the following dates Were established as the final dates for:
INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(3}(1): June 8, 2005
PLAINTIFF’S DISCLOSURE OF INFRINGEMENT CONTENTIONS: June 24, 2005
JOINING PARTIES: July 7, 2005
AMENDING PLEADINGS: July 7, 2005
DEFENDANT’S NON-INFRINGEMENT AND INVALIDITY CONTENTIONS: July 25, 2005
PLAINTIFF’S RESPONSE TO INVALIDI'I`Y CONTENTIONS: August ll, 2005
PARTIES MEET ANI) CONFERREGAR[)]NG CLAIM CONSTRUCTION: August l 9, 2005

INITIAL MOTIONS TO DISM]SS: September 8, 2005

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with Hu!e 58 and/or ?U(e; FPCP on “ ' 5

     

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PLAINTIFF FILES CLAIM C()NSTRUCTION BRIEF: Septernber 16, 2005

DEFENDANT FILES RESPONSE REGARDING CLAIM CONSTRUCTION: October 14,
2005

REQUESTED DATE FOR CLAIM CONSTRUCTION HEARING: October 28, 2005
COMPLETING FACT AND EXPERT DISCOVERY: February 17, 2006
(a) DOCUMENT PRODUCTION: November 25, 2005

(b) DEP()SITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: Novernber 25 , 2005

(c) DISCLOSURE OF EXPERT TESTIMONY (Rule 26):

(1) DISCLOSURE OF EXPERT TESTIMONY ON ISSUES AS TO
WHICH PARTY HAS THE BURDEN OF PROOF: Dccernber 23, 2005

(2) SUPI’LEMENTAL DISCL()SURE TO CON'I`RADICT OR REBUT
EVIDENCE ON THE SAME SUBJECT MATTER: lanuary 20, 2006

(3) COMPLETE EXPERT WITNESS DEPOSITI()NS: February 17, 2006
FILING DISPOSITIVE MOTIONS: March 3, 2006
RESP()NSES TO DISPOSITIVE MOTIONS: March 24, 2006
REPLY BRIEFS IN SUPPORT OF D]SPOSITIVE MOTIONS: March 31, 2006
()THER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed Suffi cientl y in advance
of the discovery cutoff date to enable opposing counsel to respond by the time permitted by the Rules
prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or within
30 days of the default or the Service of the responséj answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery deadline, unless the time for filing of

such motion is extended for good cause shown, or the objection to the default, response, answer, or
objection shall be waived

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This case is set for non-jury trial. The pretrial order date, pretrial conference date, and trial
date will be set by the presiding judge. It is anticipated that the trial will last approximately three

(3) days.

This case is appropriate for ADR. The parties are directed to engage in court-annexed
attorney mediation or private mediation

The parties are reminded that pursuant to Local Rule l 1 (a)( l )(A), all motions, except motions
pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neitherpatty may
tile an additional reply, howeverJ without leave of the court. lf a party believes that a reply is
necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting forth

the reasons for which a reply is requi_red.

'l`he parties have not consented to trial before the magistrate judge.

This order has been entered after consultation with trial counsel pursuant to noticc. Absent
good cause shown, the scheduling dates set by this order will not be modified or extended

IT IS SO ORDERED.

 

TU M. PHA]\'/t
United States Magistrate Judge

dow 9\[, BBQS/

Date

 

June 6, 2005 to the parties listed.

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:05-CV-02185 was distributed by faX, mail, or direct printing on

ESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

